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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT


____________________________________
                                    :
UNITED STATES OF AMERICA            :                  CRIMINAL NO. 3:17-CR-147-JBA
                                    :
                                    :
                  v.                :
                                    :
                                    :                  MAY 1, 2020
NATALIE LEVINE                      :
____________________________________:



                     JOINT MOTION TO DETERMINE RESTITUTION

               The parties hereby move this Court to determine Ms. Levine’s restitution

obligation as follows:

               1.         Restitution in this matter has been continued pending the determination of

the restitution obligation in a related case in the District of Massachusetts. See United States v.

Kapoor et al., 1:16-cr-10343 (D. Mass.). Restitution in the related case has now been ordered.


               2.         The Government and the Defendant believe that the loss to which Ms.

Levine contributed is encompassed by restitution ordered and paid in related cases.


               3.         Accordingly, the parties believe that the victims have been compensated

fully, Ms. Levine’s restitution obligation is satisfied, and respectfully request that no further

restitution be ordered.




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                           MOVANT,
                           NATALIE LEVINE


                     By:   /s/ Thomas M. Gallagher

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                                 CERTIFICATE OF SERVICE

               I hereby certify that on May 1, 2020, a copy of the foregoing Motion was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system, or

by mail to those listed below who are unable to accept electronic filing, as indicated on the

Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.



                                                Respectfully submitted,

                                                /s/ Allison E. DeLaurentis ________

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